                     Case 1:11-cr-00343-RJJ
     AO 472 Order of Detention Pending Trial
                                                                 ECF No. 39, PageID.104                          Filed 03/12/12               Page 1 of 2



                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     MIRANDA JAMIELLE DIXON                                                                    Case Number:         1:11-CR-343

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                             for which a maximum term of imprisonment of ten years or more is prescribed in
                      ✘      under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant is charged with armed bank robbery and brandishing a firearm during a crime of violence under 924(c). This is
                     not defendant's first conviction for bank robbery. She was previously convicted in this court of the armed robbery of a credit
                     union in 2003 and sentenced to 60 months in the BOP. Eventually she was placed on supervised release and had a
                     number of violations, including numerous instances of testing positive for marijuana. Eventually her supervised release was
                     revoked and she was returned to the BOP in 2010. However, while she was on supervised release, and before she was
                     returned to the BOP, she allegedly committed the two charges presently pending before (continued on attachment).
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community, both in light of the unrebutted presumption
   and, in the alternative, the fact that plaintiff is charged with robbing a bank while she was on supervised release after serving
   a prison term for another bank robbery.

                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         March 9, 2012                                                                /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
        Case 1:11-cr-00343-RJJ ECF No. 39, PageID.105                           Filed 03/12/12        Page 2 of 2
United States v. MIRANDA JAMIELLE DIXON
1:11-CR-343
ORDER OF DETENTION PENDING TRIAL
Page 2.




Alternate Findings (B) - (continued)

the court.

The government offers credible evidence that defendant has engaged in further criminal activity following the return of
the present indictment. It is unnecessary for the court to consider such additional allegations, in light of what is already
before the court.




Part II - Written Statement of Reasons for Detention - (continued)
